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                                                                        FILED: February 6, 2019

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                              No. 18-4292
                                         (1:16-cr-00363-JKB-8)


        UNITED STATES OF AMERICA,

                            Plaintiff - Appellee,


                     v.

        NORMAN TYRONE HANDY, a/k/a Lil Norm, a/k/a Norm,

                            Defendant - Appellant.



                                               ORDER



              Norman Tyrone Handy seeks to appeal his 142-month sentence. The Government

        has moved to dismiss the appeal as barred by Handy’s waiver of the right to appeal

        included in the plea agreement. Upon review of the plea agreement and the transcript of

        the Fed. R. Crim. P. 11 hearing, we conclude that Handy knowingly and voluntarily

        waived his right to appeal and that the issue Handy seeks to raise on appeal falls squarely
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        within the compass of his waiver of appellate rights.      Accordingly, we grant the

        Government’s motion to dismiss.*

              Entered at the direction of the panel: Chief Judge Gregory, Judge Wilkinson, and

        Judge Quattlebaum.



                                                      For the Court

                                                      /s/ Patricia S. Connor, Clerk




              *
                Contrary to Handy’s argument, the Government did not forfeit enforcement of
        the appeal waiver by waiting to file its motion to dismiss until after Handy filed his
        opening brief. See 4th Cir. R. 27(f)(2).

                                                  2
